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                      THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                 CASE NO. 4:98CR00123

JESSE FRANK PARRAZ                                                               DEFENDANT




                              ORDER OF REASSIGNMENT

         Due to the death of Judge George Howard, Jr., the Clerk has been delegated the authority

to randomly reassign closed criminal cases with pending matters that were originally assigned

to Judge Howard. On October 10, 2008, the Clerk’s office received a letter stamped “Legal

Mail” from the Defendant in the above-referenced case, that may require some action by the

Court.

         Therefore, this case has been randomly reassigned to the docket of

Judge Susan Webber Wright.

         Dated this 15th day of October, 2008.

                                                 JAMES W. McCORMACK
                                                 CLERK OF COURT

                                                 By: /s/ Brenda Williams
                                                         Deputy Clerk




cc:      Hon. Susan Webber Wright
         Courtroom Deputy
         U. S. Probation Office
         Counsel of Record
